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                UNITED STATES DISTRICT COURT FOR THE
                      DISTRICT OF NEW HAMPSHIRE



United States of America

     v.                                No. 06-cr-218-1-JD
                                       Opinion No. 2007 DNH 003

Danilo DeLeon


                               O R D E R


     Defendant Danilo DeLeon was charged with, inter alia, aiding

and abetting the sale of drug paraphernalia and the attempted

distribution of controlled substances for his alleged

participation in an operation to manufacture and sell hidden

storage compartments designed for smuggling drugs in motor

vehicles.   He now moves the court to order the government to file

a bill of particulars identifying specifically the persons whom

the government alleges DeLeon aided and abetted.            The government

objects.

     Count four of the superceding indictment alleges that DeLeon

“did knowingly aid and abet the sale of, and the offer to sell

drug paraphernalia, to wit:     hidden motor vehicle storage

compartments, which were primarily intended and designed for use

in concealing controlled substances, and which the defendant knew

were likely to be used for such purpose,” in violation of 21

U.S.C. § 863(a)(1), and 18 U.S.C. § 2.        Count five alleges that
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DeLeon, along with three co-defendants, “did knowingly,

intentionally and unlawfully aid and abet the attempted

distribution of controlled substances by the construction of

hidden compartments in motor vehicles . . . ,” in violation of 21

U.S.C. §§ 841(a)(1), 846, and 18 U.S.C. § 2.1

     DeLeon points out that the superceding indictment is silent

as to the person or persons whom he allegedly aided and abetted -

- i.e., the principals who allegedly violated the underlying

statutory provisions.        For the government to succeed on counts

four and five, DeLeon argues that it must prove that a principal

committed the underlying offense and that DeLeon “consciously

shared the principal’s knowledge of the underlying criminal act,

and intended to help the principal.”           United States v. Spinney,

65 F.3d 231, 235 (1st Cir. 1995) (internal quotation marks

omitted).      DeLeon argues that, absent information as to the

identity of the alleged principals, he cannot adequately prepare

for trial on those counts.

     The government’s objection reveals that DeLeon was ensnared

in a Drug Enforcement Administration (“DEA”) undercover

investigation.       According to the government, undercover


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      Counts one and two, which are not subject to DeLeon’s
present motion, charge him with two separate conspiracies (over
different time frames) to sell drug paraphernalia (i.e., the
hidden motor vehicle storage compartments).

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confidential informants posed as interested buyers of the hidden

compartments.       DeLeon introduced the informants to his co-

defendants, whom he stated would construct the compartments.                  The

government also alleges that DeLeon set the price and accepted

cash payments for the compartments, acknowledged that the

compartments were intended for drug smuggling, personally
transported two vehicles from Salem, New Hampshire, to his garage

in Lawrence, Massachusetts, for the purpose of installing

compartments, and demonstrated how a hidden compartment could be

accessed.

     The government argues that DeLeon’s defense preparation

should not be hampered because he has been provided with ample

discovery.      The government represents that it has provided DeLeon

with “over 125 pages of discovery including all DEA-6 reports

concerning meetings with the defendants and agent surveillance,
as well as confidential informant debriefing reports detailing

the substance of meetings between DeLeon (and his co-defendants)
and the informants.”        Moreover, DeLeon and his co-defendants

“have been provided with tape recordings of their actual
conversations with the cooperating informants to the extent

exigent.”2     Thus, the government argues, DeLeon will not be


     2
      The government notes that the conversations are in Spanish
and therefore necessitate translation before English transcripts

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prejudiced in preparing for trial because the discovery that has

been provided to him “sets out in detail the identities of the

individuals the government has determined to be involved in the

scheme and the nature of their relationship over the time period

specified in the indictment.”

     DeLeon’s argument overemphasizes the lack of information he
seeks in the superceding indictment.       Although the function of a

bill of particulars is “to provide the defendant with necessary

details of the charges against him to enable him to prepare his

defense, to avoid surprise [at] trial, and to protect against

double jeopardy,” United States v. Abreu, 952 F.2d 1458, 1469

(1st Cir. 1992), the sufficiency vel non of the indictment “is

irrelevant in determining whether to order a bill of

particulars.”   1 Charles Alan Wright, Federal Practice and

Procedure § 129 (3d ed. 1999).      The appropriate remedy for an

insufficient indictment is a motion to dismiss the indictment.

See United States v. Murphy, 762 F.2d 1151, 1154 (1st Cir. 1985).

DeLeon has neither moved nor argued that the court should dismiss

counts four and five of the superceding indictment.

     The key inquiry in the present circumstance is whether, as a

practical matter, absent “a more detailed specification,” DeLeon


can be provided. The government represents that those
transcripts will be forthcoming “in the near future.”

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will be disabled in his trial preparation or might be surprised

at trial.      United States v. Sepulveda, 15 F.3d 1161, 1192 (1st

Cir. 1993).3      Given the government’s representations as to the

extensive discovery DeLeon has received, it does not appear that

his defense preparation will be so disabled.             See Sepulveda, 15

F.3d at 1193 (affirming the denial of a bill of particulars where

the defendants “enjoyed the benefits of modified open-file

discovery, i.e., automatic discovery that encompassed all

relevant data except Jencks Act material related to witnesses not

employed in law enforcement”); United States v. Cannino, 949 F.2d

928, 949 (7th Cir. 1991) (“[A] bill of particulars is not

required when information necessary for a defendant’s defense can

be obtained through ‘some other satisfactory form.’”) (quoting

Wright, Federal Practice and Procedure § 129 (2d ed. 1982)).

     Because DeLeon has not contested the government’s

representations regarding discovery, or claimed that the

discovery was nonetheless inadequate, the court rejects DeLeon’s

claim that a bill of particulars is necessary for his trial

preparation.      If DeLeon contests the government’s representations

as to discovery, he may re-file a motion for a bill of

particulars specifically attesting to the inadequacy of the


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      DeLeon has not argued that there is a potential double
jeopardy problem in this case.

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government’s discovery and explaining why a bill of particulars

is necessary for his preparation.        DeLeon is warned, however,

that the court will not entertain “late motions for the purpose

of delaying trial.”     Fed. R. Crim. P. 7(f) advisory committee

notes.



                                Conclusion

      DeLeon’s motion for a bill of particulars (document no. 45)

is denied without prejudice.

      SO ORDERED.



                                         ____________________________
                                         Joseph A. DiClerico, Jr.
                                         United States District Judge

January 5, 2007

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